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 8                       UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,
                                             NO. CR. S-02-0079 FCD
12             Plaintiff,
13        v.                                 ORDER
     WESLEY F. SINE,
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               Defendant.
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16                                ----oo0oo----
17        On July 24, 2006, this court received defendant’s motion for
18   release pending determination of movant’s petition and the
19   Government’s opposition on August 1, 2006.
20        After review of all briefing the court hereby DENIES the
21   defendant’s motion.
22        IT IS SO ORDERED.
23   DATED: August 2, 2006.
24                                     /s/ Frank C. Damrell Jr.
                                       FRANK C. DAMRELL, Jr.
25                                     UNITED STATES DISTRICT JUDGE
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